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1             The Special Master submits this bi-monthly status report as requested in the Court’s
2      Order Appointing Special Master at Dkt. No. 223, Paragraph 11, and Dkt. No. 1039. This
3
       submission parallels and replaces the November 11, 2020 letter to Judge Selna.
4

5
              The Special Master is currently reviewing two of the parties’ disputes. The hearing for
6
       both these matters is now set for Thursday, November 19, 2020. The Special Master intends,
7
       when possible, to follow his policy of providing tentative orders before the hearings.
8

9

10            First, The Special Master has been conducting an in camera review under the Court’s

11     Order at Dkt. No. 1049 of some Strataluz-related documents withheld by Newport Trial Group
12
       (“NTG”).
13

14
              Second, the Special Master has been reviewing NTG’s motion to compel at Dkt. No. 981.
15

16

17            It also appears that the parties have submitted another Rule 37 Stipulation regarding a

18     motion to compel a Rule 30(b)(6) deposition at Dkt. No. 1064. They haven’t reached out to the

19     Case Manager yet to set this third dispute for a hearing. The status of this will be reviewed at
20     the hearing on November 19, 2020.
21

22
              In this Status Report, further comments are appropriate.
23

24
              The Court’s order at Dkt. No. 1049 refers to review of Dkt. Nos. 823-1 and 823-2. (See
25

26     Dkt. No. 1049 at 1, 3.) Because Dkt. No. 823-1 is the full document privilege log for all the

27     withheld Strataluz-related documents, the Special Master has been focusing his review on the
28

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